      Case 1:17-cv-01113-JTN-ESC ECF No. 1 filed 12/18/17 PageID.1 Page 1 of 6



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

HANNA HACKBARDT                                 §
                                                §       Case No. 1:17-cv-1113
         Plaintiff                              §
                                                §
-v-                                             §
                                                §       COMPLAINT
MIDLAND FUNDING, LLC,                           §
                                                §       JURY TRIAL DEMANDED
                                                §
         Defendant.                             §

                                          INTRODUCTION

      1. Defendant Midland Funding (hereafter “Defendant”) harassed Plaintiff Hannah
         Hackbardt (“Plaintiff”) for months with collection robocalls when they had no right to
         make these automated calls to Plaintiff’s cellular telephone, and Plaintiff had never
         provided them with either express or implied consent to receive such calls.

      2. Defendant persistently utilized an automatic telephone dialing system to automatically
         dial Plaintiff’s cellular telephone, which violated Plaintiff’s privacy rights under state and
         federal law.

      3. The Telephone Consumer Protection Act (“TCPA”) was enacted to prevent companies
         from invading American citizen’s privacy and to “protect individual consumers from
         receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., 132 S.Ct.
         740 (2012).

      4. According to the Federal Communications Commission (FCC), Únwanted calls and texts
         are the number one complaint to the FCC. The FCC received more than 215,000 TCPA
         complaints in 2014 alone. https://www.fcc.gov/document/fact-sheet-consumer-
         protection-proposal.

      5. Senator Hollings, the TCPA’s sponsor described these calls as “the scourge of modern
         civilization, they wake us up in the morning; they interrupt our dinner at night; they force
         the sick and elderly out of bed; they hound us until we want to rip the telephone out of
         the wall.” 137 Cong. Rec. 30, 821 (1991).

      6. Defendant has caused Plaintiff actual harm not only because Plaintiff was subjected to
         the aggravation and invasions of privacy that necessarily accompany these repeated
         robocalls, but also because the calls brought on depression, feelings of anxiety, caused
         diminished battery life, wasted Plaintiff’s time, and otherwise interfered with her ability
         to make and receive phone calls on her cellular telephone.
Case 1:17-cv-01113-JTN-ESC ECF No. 1 filed 12/18/17 PageID.2 Page 2 of 6




                                   JURISDICTION

7. Jurisdiction of this Court arises under 28 U.S.C. § 1331, 47 U.S.C. § 227, and pursuant to
   28 U.S.C. § 1367 for pendent state law claims, which are predicated upon the same facts
   and circumstances that give rise to the federal causes of action.

8. This action arises out of the Defendant’s repeated violations of the Telephone Consumer
   Protection Act (“TCPA”) 47 U.S.C. § 227 et seq., the Fair Debt Collection Practices Act
   (“FDCPA”) 15 U.S.C. § 1692 et. seq., the Michigan Occupational Code M.C.L. §339.901
   et. seq. (“MOC”).

9. Venue is proper in this district because Defendant transacts business here and places
   phone calls into this district, and Plaintiff lives in this District.

                                       PARTIES

10. Plaintiff is a natural person who resides in the City of Grand Rapids, County of Kent,
    State of Michigan. Plaintiff is a “consumer” and “person” as the terms are defined and
    used in the FDCPA and TCPA. Plaintiff is a “consumer,” “debtor” and “person” as the
    terms are defined and used in the MOC.

11. Defendant is a Delaware corporation and is conducting business through its registered
    agent CSC-Lawyers Incorporating Service, 601 Abbott Rd., East Lansing MI, 48823.

12. Defendant uses interstate commerce and the mails in a business the principal purpose of
    which is the collection of debts. Defendant regularly attempts to collect, directly or
    indirectly, debts owed or due or asserted to be owed or due another.

13. Defendant is a “debt collector” as the term is defined and used in the FDCPA and the
    TCPA. Defendant maintains a valid license from the State of Michigan to collect
    consumer debts in Michigan. Defendant is a “collection agency” and “licensee” as those
    terms are defined and used in the MOC.

14. At all relevant times to this complaint, Defendant has owned, operated, and or controlled
    “customer premises equipment” as defined by the TCPA 47 U.S.C. §153(14) that
    originated, routed, and/or terminated telecommunications.

15. At all relevant times to this complaint, Defendant engaged in “telecommunications” as
    defined in the TCPA 47 U.S.C. §153(43).

16. At all relevant times to this complaint, Defendant engaged in “Interstate
    communications” as defined by TCPA 47 U.S.C. §153(22).
Case 1:17-cv-01113-JTN-ESC ECF No. 1 filed 12/18/17 PageID.3 Page 3 of 6



17. At all relevant times to this complaint, Defendant has used, controlled, and/or operated
    “wire communications” as defined by the TCPA 47 U.S.C. §153(52), that existed as
    instrumentalities of interstate and intrastate commerce.

18. At all relevant times to this complaint, Defendant has used, controlled, and/or operated
    “automatic dialing systems” as defined by the TCPA 47 U.S.C. §227(a)(1) and 47 C.F.R.
    64.1200(f)(1).

                              FACTUAL ALLEGATIONS

19. On or around April of 2016, and within one year immediately preceding the filing of this
    complaint, Defendant began repeated attempts to collect from Plaintiff a financial
    obligation that was primarily for personal, family or household purposes and is therefore
    a “debt” as that term is defined by 15 U.S.C. § 1692a(5), namely, a credit card debt.

20. Plaintiff’s personal cellular telephone number is (616) XXX-8327.

21. On or around December of 2016, and within one year immediately preceding the filing of
    this complaint, Defendant repeatedly and willfully placed calls to Plaintiff’s personal
    cellular telephone number in an effort to collect this debt, which were
    “communication[s]” in an attempt to collect a debt as that term is defined by 15 U.S.C. §
    1692a(2).

22. Without Plaintiff’s prior express consent, Defendant repeatedly used an automatic
    telephone dialing system to call Plaintiff’s cellular telephone in an attempt to collect this
    debt at least twenty-five (25) times.

23. These calls were not made for emergency purposes.

24. Defendant placed these calls repeatedly and continuously, often multiple times per day.

25. When Plaintiff answered the phone she was met by a long period of silence or “dead air”
    before any representative came on the line.

26. Dead air calls are the hallmark of calls placed using automated or predictive dialers.

27. Plaintiff has never provided Defendant nor any of its assignors with her current telephone
    number.

28. Prior to December of 2016, Plaintiff engaged the services of Nationwide Debt Reduction.

29. As part of the debt reduction program, Plaintiff repeatedly told Defendant not to contact
    her any longer.

30. Plaintiff explicitly revoked her consent to receive telephone calls on her cellular
    telephone.
Case 1:17-cv-01113-JTN-ESC ECF No. 1 filed 12/18/17 PageID.4 Page 4 of 6




31. Despite Plaintiff’s revocation of consent, Defendant continued to place calls to her cell
    phone using an automatic dialing system.

                          Count I – Telephone Consumer Protection Act

32. All calls and messages were sent in willful violation of the TCPA because Defendant
    never obtained Plaintiff’s prior express consent to make automated calls to her cell phone
    or to send her prerecorded and/or synthesized messages on her cell phone, and because
    Plaintiff informed Defendant she did not wish to receive telephone calls.

33. Defendant’s repeated autodialed collection calls to Plaintiff’s cellular telephone within the
    last four years prior to filing this complaint were illegal third-party attempts to collect this
    debt in violation of the TCPA, 47 U.S.C. § 227 et seq.

34. The Defendant’s persistent autodialed calls eliminated the Plaintiff’s right to be left
    alone, disrupted Plaintiff’s sleep, and eliminated the peace and solitude that the Plaintiff
    would have otherwise had.

35. Defendant’s actions constituted the unauthorized use of, and interference with the
    Plaintiff’s cellular telephone service for which the Plaintiff paid money.

36. Defendant’s actions were intentional and knowing.

                Count II – Violation of 15 U.S.C. § 1692d and MCL § 339.915(n)

37. Pursuant to 15 U.S.C. §1692d(5), a debt collector may not cause a telephone to ring
    repeatedly or continuously with intent to annoy, abuse, or harass any person at the called
    number.

38. MCL § 339.915(n) prohibits licensees from Using a harassing, oppressive, or abusive
    method to collect a debt, including causing a telephone to ring or engaging a person in
    telephone conversation repeatedly, continuously, or at unusual times or places which are
    known to be inconvenient to the debtor.

39. The majority of calls to Plaintiff were either ignored by Plaintiff or sent to voicemail.

40. Defendant placed an unreasonable amount of telephone calls to Plaintiff with the intent to
    harass, annoy, abuse, and/or oppress her.

41. Defendant intentionally continued to contact Plaintiff with the intent of annoying her
    enough that they could extract payment from her in violation of 15 U.S.C. §1692d(5) and
    MCL § 339.915(n).
   Case 1:17-cv-01113-JTN-ESC ECF No. 1 filed 12/18/17 PageID.5 Page 5 of 6



                          Count V – Violation of MCL § 339.915(q)

   42. Pursuant to MCL § 339.915(q) a licensee may not fail to implement a procedure designed
       to prevent a violation by an employee.

   43. Defendant’s multiple violations of the MOC, FDCPA, and TCPA are evidence that there
       were no procedures implemented by Defendant that would have prevented a violation by
       employees.
                                      TRIAL BY JURY

   44. Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues so
       triable. US Const. amend. 7. Fed.R.Civ.P. 38.

                                  PRAYER FOR RELIEF
Telephone Collection Practices Act

   45. Defendant has violated 47 U.S.C. §227(b)(1)(A)(iii) and 47 C.F.R. §64.1200 (a)(1)(iii) by
       using an automatic dialing system to make numerous calls to the cellular telephones of
       Plaintiff without consent.

   46. Defendant’s actions alleged herein constitute numerous negligent violations of the TCPA,
       entitling Plaintiff to an award of $500.00 in statutory damages for each and every
       violation pursuant to 47 U.S.C. §227(b)(3)(B).

   47. Defendant’s actions alleged herein constitute numerous knowing and/or willful violations
       of the TCPA, entitling Plaintiff to an award of $1,500.00 in statutory damages for each
       and every violation pursuant to 47 U.S.C. §§227(b)(3)(B) and 227(b)(3)(C).

      Wherefore, Plaintiff seeks judgment against Defendant for:

              a) Statutory damages of $500.00 per call pursuant to 47 U.S.C. §227(b)(3)(B);

              b) Treble damages of $1,500.00 per call pursuant to 47 U.S.C. §§227(b)(3)(B)
                 and 227(b)(3)(C);

              c) An injunction prohibiting Defendant from contacting Plaintiff on his cellular
                 phone using an automated dialing system pursuant to 47 U.S.C.
                 §§227(b)(3)(a).

Fair Debt Collection Practices Act

   48. Defendant has violated the FDCPA. Defendant’s violations of the FDCPA include but are
       not limited to the following:

              a. Defendant violated 15 U.S.C. §1692d.
  Case 1:17-cv-01113-JTN-ESC ECF No. 1 filed 12/18/17 PageID.6 Page 6 of 6




      Wherefore, Plaintiff seeks judgment against defendant for:

         a) Actual damages pursuant to 15 U.S.C. §1692k(a)(1);

         b) Statutory damages pursuant to 15 U.S.C. §1692l(a)(2)(A);

         c) Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k(a)(3); and

         d) Such further relief as the court deems just and equitable.

Michigan Occupational Code

      49. Defendant has violated the MOC. Defendant’s violations of the MOC include, but are
          not limited to the following:

             a. Defendant violated M.C.L. §339.915(n) by using a harassing, oppressive, or
                abusive method to collect a debt;

             b. Defendant violated M.C.L. §339.915(q) by failing to implement a procedure
                designed to prevent a violation by an employee; and

      Wherefore, Plaintiff seeks judgment against defendant for:

             a) Actual damages pursuant to M.C.L. §339.916(2);

             b) Treble the actual damages pursuant to M.C.L. §339.916(2);

             c) Statutory damages pursuant to M.C.L. §339.916(2);

             d) Reasonable attorney’s fees and court costs pursuant to M.C.L. §339.916(2);
                and

             e) Equitable relief pursuant to M.C.L. §339.916(2).

         Dated: December 18, 2017                 Respectfully submitted:

                                                  __/s/____________________________
                                                  Jeffrey D. Mapes (P70509)
                                                  Jeffrey D. Mapes PLC
                                                  Attorneys for Plaintiff
                                                  29 Pearl St. NW, Ste. 305
                                                  Grand Rapids, MI 49503
                                                  Tel: (616) 719-3847
                                                  Fax: (616) 719-3857
                                                  jeff@mapesdebt.com
